
PER CURIAM.
Terry Lee Ament appeals from the summary denial of his motion for postconviction relief in which he alleged that he was not allowed credit for time served in the county jail. Although the trial court found that Ament was correctly given 171 days credit for time served, it failed to attach portions of the record which conclusively refute Ament’s allegations. Accordingly, we reverse the order denying Ament’s motion and remand with directions to either grant the motion or to attach sufficient record excerpts that refute Ament’s allegations. If the trial court again denies Ament’s motion, he must file a notice of appeal within thirty days to obtain further appellate review.
DANAHY, A.C.J., and LEHAN and PARKER, JJ., concur.
